     Case 1:12-cr-00283-AWI-BAM Document 27 Filed 11/29/12 Page 1 of 2



 1   BENJAMIN B. WAGNER
     United States Attorney
 2   KAREN A. ESCOBAR
     Assistant U.S. Attorney
 3   2500 Tulare Street
     Fresno, California 9372l
 4   Telephone: (559) 497-4000

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 7

 8               IN THE UNITED STATES DISTRICT COURT FOR THE

 9                       EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,          )       1:12-cr-00283 AWI
                                        )
12                  Plaintiff,          )
                                        )
13        v.                            )       STIPULATION TO
                                        )       CONTINUE SENTENCING
14   MAIRO CORREA-GARCIA,               )
                                        )
15                                      )
                                        )
16                  Defendant.          )
     ___________________________________)
17
          Defendant, by and through his attorney, DALE BLICKENSTAFF,
18
     and the United States of America, by and through its attorneys,
19
     BENJAMIN B. WAGNER, United States Attorney, and KAREN A. ESCOBAR,
20
     Assistant United States Attorney, hereby enter into the following
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     stipulation:
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          The parties to the above-captioned matter agree to continue
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     the sentencing in the above-captioned matter from December 3 to
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     January 28, 2013, at 10 a.m.      The continuance is needed to allow
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     Defendant, who is housed in Lerdo, to comply with the terms of the
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     plea agreement and to accommodate the transportation schedule of
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     the U.S. Marshal Service and the work schedules of the government
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     Case 1:12-cr-00283-AWI-BAM Document 27 Filed 11/29/12 Page 2 of 2



 1   and its agents.

 2   DATED: November 29, 2012                    Respectfully submitted,

 3                                               BENJAMIN B. WAGNER
                                                 United States Attorney
 4
                                                 By: /s/ Karen A. Escobar
 5                                                 KAREN A. ESCOBAR
                                                 Assistant U.S. Attorney
 6
                                                  /s/ Dale Blickenstaff
 7                                                DALE BLICKENSTAFF
                                                  Attorney for Defendant
 8                                                Mairo Correa-Garcia

 9                                 O R D E R

10        Having read and considered the foregoing stipulation,

11        IT IS THE ORDER of the Court that the above-captioned matter

12   shall be set for sentencing on January 28, 2013, at 10:00 a.m. and

13   that the December 3 sentencing hearing shall be vacated.

14   IT IS SO ORDERED.
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     Dated:       November 29, 2012
16   0m8i78
                                          UNITED STATES DISTRICT JUDGE
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